           IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF OHIO
                     WESTERN DIVISION

UNITED STATES OF AMERICA              :     CASE NO. 3:19-cr-169

            Plaintiff                 :

vs.                                   :     Judge Thomas M. Rose

ETHAN KOLLIE                          :

            Defendant                 :

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 MOTION FOR MODIFICATION OF BOND CONDITIONS ORDER
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      Now comes Defendant Ethan Kollie, by and through undersigned

counsel pursuant to 18 U.S.C. §3145(b), and hereby moves this Honorable

Court to for an ORDER amending the ORDER SETTING CONDITIONS

OF RELEASE issued December 23, 2019 (Doc.#46).

                               Respectfully submitted,

                               s/Nicholas G. Gounaris
                               NICHOLAS G. GOUNARIS (0064527)
                               GOUNARIS ABBOUD CO.
                               Co-Counsel for Defendant, Ethan Kollie
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                                   /s/Antony A. Abboud
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                             MEMORANDUM

       Mr. Kollie has been sentenced by this Court and received an official

notice from the Bureau of Prisons to report to a specific BOP Facility April

28, 2020. However, because of the current COVID-19 health crisis, his

report date has been delayed until June 11, 2020.

       Mr. Kollie is ready to begin serving his sentence and requests that that

Court reconsider its “voluntary surrender” order by revoking the same and

allowing Mr. Kollie to begin serving his sentence in the county jail until the

BOP is ready to accept him into a facility.

        This request has been communicated to the Government, and it

DOES OBJECT to the request.

                                   Respectfully submitted,

                                   s/Nicholas G. Gounaris
                                   NICHOLAS G. GOUNARIS (0064527)
                                   GOUNARIS ABBOUD CO.
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                       CERTIFICATE OF SERVICE

    I hereby certify that a copy of the foregoing was sent to all parties via
the clerk of court’s electronic filing system.
